            Case 3:14-cr-05159-BHS            Document 183          Filed 02/19/15       Page 1 of 1




 1

 2
                                IN THE UNITED STATES DISTRICT COURT
 3                            FOR THE WESTERN DISTRICT OF WASHINGTON
                                            AT TACOMA
 4
     UNITED STATES OF AMERICA,                               No.     CR 14-5159 BHS
 5
                     Plaintiff,                              Order for Non Custody Transportation
 6
     -vs-                                                    Pursuant to 18 USC 4285
 7
     DAVID LOZANO-ALVARADO
 8
                     Defendant.
 9

10

11

12
             This matter having come before the undersigned judge on defendant’s motion for transportation
13   and subsistence expenses pursuant to 18 USC 4285, and the court having considered the pleading filed in

14   support of the motion and the previous transportation orders entered with respect to Mr. Lozano-
     Alvarado,
15
             NOW THEREFORE IT IS HEREBY ORDERED THAT THE UNITED STATES MARSHAL
16   SHALL arrange and provide the funds for the non-custodial transportation of Defendant David Lozano-

17   Alvarado from Pomona California to Tacoma Washington for the court appearance scheduled for March
     2, 2015. In addition, the United States Marshal shall furnish Defendant an adequate amount of money for
18
     subsistence expense to the destination, not to exceed the mount authorized as per diem allowance for
19   travel under 5 USC 5702 (A).

20           DATED this 19th day of February, 2015.

21

22

23

24
                                                      A
                                                      BENJAMIN H. SETTLE
                                                      United States District Judge

25

                                                                                 LAW OFFICE OF
                                                                               MARK W. MUENSTER
                                                                              1010 ESTHER STREET
                                                                              VANCOUVER, WA 98660
     ORDER FOR NON-CUSTODIAL TRANSPORTATION                                     (360) 694-5085
